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8                            UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   SUSAN IVY GOLDEN,                                  Case No.: 19cv2272-LL
12                                     Plaintiff,
                                                        ORDER AWARDING EQUAL
13   v.                                                 ACCESS TO JUSTICE ACT
                                                        ATTORNEY FEES AND EXPENSES
14   ANDREW SAUL,
                                                        PURSUANT TO 28 U.S.C. § 2412
15                                   Defendant.         AND COSTS PURSUANT TO 28
                                                        U.S.C. § 1920
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17                                                      [ECF No. 25]
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19         Based upon the Parties’ Joint Motion for fees and costs under the Equal Access to

20   Justice Act: IT IS ORDERED that fees and expenses in the amount of $8,193.49 as

21   authorized by 28 U.S.C. § 2412 and costs in the amount of $0 as authorized by 28 U.S.C.

22   § 1920, be awarded subject to the terms of the Joint Motion.

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     Dated: August 3, 2020
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